                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

MAXWELL KREMER,                                  )
                                                 )
      Plaintiff,                                 )
                                                 )
v.                                               )       NO. 2:24-cv-00028
                                                 )
WEBADOR.COM, et al.,                             )       JUDGE CAMPBELL
                                                 )       MAGISTRATE JUDGE NEWBERN
      Defendants.                                )

                                             ORDER

          Pending before the Court is the Magistrate Judge’s Report (Doc. No. 26), recommending

that Defendant Stripe, Inc.’s motion to dismiss (Doc. No. 8) be granted and Plaintiff’s claims

against Stripe, Inc. be dismissed without prejudice because Plaintiff has not effected service of

process. In the alternative, the Magistrate Judge recommends that Stripe, Inc.’s motion to dismiss

and compel arbitration be granted and Plaintiff’s motion for judgment on the pleadings against

Defendant Stripe, Inc. should be terminated as moot. The Magistrate Judge further recommends

that Plaintiff’s motion for injunctive relief and motion for entry of default (Doc. No. 9) against

Defendant Webador.com be denied. Plaintiff filed an objection and supporting memorandum

(Doc. Nos. 28, 29).

          Under 28 U.S.C. § 636(b)(1) and Local Rule 72.02, a district court reviews de novo any

portion of a report and recommendation to which a specific objection is made. United States v.

Curtis, 237 F.3d 598, 603 (6th Cir. 2001). General or conclusory objections are insufficient. See

Zimmerman v. Cason, 354 F. Appx. 228, 230 (6th Cir. 2009). Thus, “only those specific objections

to the magistrate’s report made to the district court will be preserved for appellate review.” Id.

(quoting Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987)). In conducting



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the review, the court may “accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C).

        Plaintiff generally objects to the Report and Recommendation as “lacking scrutiny of

justice” and specifically objects to the statements in the Report that: “Webador has not yet

appeared” and “Kremer threatened to sue Stripe….” as “shameful” and “disrespectful.” (Doc. No.

28 at 1-2). Plaintiff’s supporting memorandum cites to the federal criminal code for wire fraud and

submits that Defendants committed a crime. (Doc. No. 29 (quoting 18 U.S.C. § 1341)). Plaintiff’s

foregoing objections fail to identify any specific factual or legal errors on the part of the Magistrate

Judge in making her determination. Objections which do not identify an error are meritless. See

Howard v. Sec. of Health & Human Servs., 932 F.2d 505, 509 (6th Cir. 1991).

        Plaintiff also appears to object to the Magistrate Judge’s determination that he is required

to effect service of process on Defendants, arguing that he served Defendants with process while

the action was still in state court. (Doc. No. 29 at 2 (citing Fed. R. Civ. P. 81)). This objection

simply restates the argument that Plaintiff previously made in his motion for injunctive relief and

opposition to Defendant Stripe, Inc.’s motion to dismiss, which the Magistrate Judge already

considered. (See Report and Recommendation, Doc. No. 26 at 8 (quoting Doc. No. 9 at PageID #

268)). As such, Plaintiff’s objection does not provide a basis to reject or modify the Report and

Recommendation. See VanDiver v. Martin, 304 F. Supp. 2d 934, 937 (E.D. Mich. 2004) (“An

‘objection’ that does nothing more than state a disagreement with a magistrate's suggested

resolution, or simply summarizes what has been presented before, is not an ‘objection’ as that term

is used in this context.”).

        Having reviewed the Report and Recommendation and considered Plaintiff’s objections,

the Court concludes that Plaintiff’s objections are without merit, and the Report and



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Recommendation (Doc. No. 26) should be adopted and approved. Accordingly, Defendant Stripe,

Inc.’s motion to dismiss (Doc. No. 8) is GRANTED and Plaintiff’s claims against Defendant

Stipe, Inc. are DISMISSED WITHOUT PREJUDICE for failure to effect service of process.

Additionally, Plaintiff’s motion for injunctive relief and motion for entry of default (Doc. No. 9)

against Defendant Webador.com are DENIED.

       It is so ORDERED.
                                                    ___________________________________
                                                    WILLIAM L. CAMPBELL, JR.
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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